                          Dr. Arrowsmith’s Qualifications

            1984 – 1986: Epidemic Intelligence Service Officer at the National Centers
            for Disease Control
            1986 – 1988: Staff Epidemiologist in the Office of Epidemiology and
            Biostatistics at the FDA
            1988 – 1990: Deputy Director for Office of AIDS and Special Health
            Concerns
            1990 – 1991: Senior Medical Officer for HIV at the Agency for Healthcare
            Policy and Research
            1991 – 1993: Medical Review Officer in the Division of Antiviral Drug
            Products in the Center for Drug Evaluation and Research
            1995 – 1996: Medical Review Officer in the Division of Blood Applications,
            Office of Blood Research and Review in the FDA Center for Biologics
            Evaluation and Research
            1986 – 1996: Faculty at Georgetown Medical Center
                              Case 3:05-cv-00444 Document 172-2 Filed 04/27/10 Page 1 of 25 PageID #: 3922
N13743-062-r05.ppt   Page 1                                     4/27/2010                                    1
                                 Opinions of Dr. Arrowsmith

              The Neurontin labeling was adequate under the
              regulations and provided appropriate information
              for safe and effective use

              The package insert, and the Investigator’s Brochure
              prior to approval, included information concerning
              suicidal behavior and adverse effects on mood
              reported during clinical testing

              There was no reason for Pfizer to warn of suicidal
              behavior in the Neurontin labeling prior to the
              requirement of class labeling
                              Case 3:05-cv-00444 Document 172-2 Filed 04/27/10 Page 2 of 25 PageID #: 3923
N13743-062-r05.ppt   Page 2                                     4/27/2010                                    2
                                          21 CFR 201.57 (2002)

                     2002


                                                             The labeling shall be revised to
                                                             include a warning as soon as
                                                             there is reasonable evidence
                                                             of an association of a serious
                                                             hazard with a drug; a causal
                                                             relationship need not have
                                                             been proved.
                                                                                                  Source: 21 CFR § 201.57, Pg. 22




                              Case 3:05-cv-00444 Document 172-2 Filed 04/27/10 Page 3 of 25 PageID #: 3924
N13743-062-r05.ppt   Page 3                                     4/27/2010                                                           3
                                      Background Suicide Rates in Epilepsy,
       Rate per 10,000 Person Years
                                        Pain, and Psychiatric Populations

                                                                                                                                                                                     40




                                                                                                                                        20



                                                                                       3.5-7.3
                                                   2-5

                                                 Pain                                Epilepsy                                      Anxiety                                     Bipolar
                                          (Chronic, Lower Back,                                                                    Disorder                                    Disorder
                                            Multiple Sclerosis)


     Source: D.A. Fishbain, “Association of Chronic Pain on Suicide,” “4 Seminars of Clinical Neuropsychiatry,” 221 (1999); L. Nilsson, et al., “Risk Factors for Suicide in Epilepsy: A Case Control Study,” 43
     Epilepsia 644 (2002); A. Khan, et al., “Suicide Risk in Patients with Anxiety Disorders: A Meta-Analysis of the FDA Database,” 68 Journal of Affective Disorders 183 (2002); L. Tondo, et al., “Suicidal Behavior
     in Bipolar Disorder: Risk and Prevention,”   17 CNS Drugs 491 (2003) Document 172-2 Filed 04/27/10 Page 4 of 25 PageID #: 3925
                                    Case 3:05-cv-00444
N13743-062-r05.ppt                     Page 4                                                         4/27/2010                                                                                                          4
                     Randomized Controlled Trials (RCTs)
                          And Uncontrolled Trials

              A randomized controlled trial (RCT) is a study in
              which subjects are allocated at random (by chance
              alone) to receive either the medicine under study or
              a control medicine, typically a placebo (sugar pill)

              In a double-blind RCT, neither the subject nor the
              physician knows which pill the subject is getting

              An uncontrolled study is one in which there is no
              comparison of the treatment medicine to a placebo

                              Case 3:05-cv-00444 Document 172-2 Filed 04/27/10 Page 5 of 25 PageID #: 3926
N13743-062-r05.ppt   Page 5                                     4/27/2010                                    5
                                              First Safety Update




                              Case 3:05-cv-00444 Document 172-2 Filed 04/27/10 Source:
                                                                                PageFirst
                                                                                       6 ofSafety
                                                                                             25 PageID     #: 3927
                                                                                                  Update, Pg. 33, Table 9
N13743-062-r05.ppt   Page 6                                           4/27/2010                                             6
         There Is No Evidence of an Increased Risk
              Of Depression With Neurontin


                         May 29, 1992

                                                                                      Placebo               Neurontin Total
                                                             Adverse Event
                                                                                    378 patients             543 patients


                                                               Depression               1.1%                         1.8%




                                                                                      Not Statistically Significant
                                                                                             Source: First Safety Update, Pg. 33, Table 9




                              Case 3:05-cv-00444 Document 172-2 Filed 04/27/10 Page 7 of 25 PageID #: 3928
N13743-062-r05.ppt   Page 7                                     4/27/2010                                                                   7
                           Rate of Psychobiologic
                       Adverse Events Higher in Placebo


               May 29, 1992 Epilepsy Trials

                                                                                      Placebo                Neurontin Total
                                                              Body System
                                                                                    378 patients              543 patients

                                                             Psychobiologic
                                                                                        9.0%                          8.3%
                                                                Function
                                                                                               Source: First Safety Update, Pg. 30, Table 8




                              Case 3:05-cv-00444 Document 172-2 Filed 04/27/10 Page 8 of 25 PageID #: 3929
N13743-062-r05.ppt   Page 8                                     4/27/2010                                                                     8
     Medical-Statistical Review Data Cutoff Over
       One Year Prior to Neurontin Approval


                                                             This safety review is current as
                                                             of 6/30/1992 in the drug’s
                                                             development except for
                                                             deaths and serious adverse
                                                             events which have been
                                                             updated to 9/15/1992. The
                                                             dates that are pertinent to this
                                                             submission are shown below.


                              Case 3:05-cv-00444 Document 172-2 Filed 04/27/10 Page 9 of 25 PageID #: 3930
N13743-062-r05.ppt   Page 9                                     4/27/2010                                    9
                                  Dr. McCormick’s Review
                                  Of Fourth Safety Update
                                                                               December 28, 1993


                                                         The incidence of depression with suicidal
                                                         ideation is reported in the 4th Safety
                                                         Update as a severe adverse event, bringing
                                                         the total to 10 cases reported. There is
                                                         a higher incidence of depression among
                                                         epileptics with partial seizures as
                                                         compared to the general population.

                                                         One cannot determine based on the
                                                         available data, largely uncontrolled,
                                                         whether the reports here represent an
                                                         increase in incidence or intensity of
                                                         depression compared to that which is
                                                         expected.
                                                                Source: Dr. McCormick’s Review of Fourth Safety Update, 12/28/93, Ex. 7562
                          Case 3:05-cv-00444 Document 172-2 Filed 04/27/10 Page 10 of 25 PageID #: 3931
N13743-062-r05.ppt   Page 10                                4/27/2010                                                                        10
                     The FDA Was Very Engaged During
                       Review of the Neurontin NDA
                                                      We also acknowledge receipt of your additional
                                                      communications dated:
                                                      01-30-92   03-20-92   03-27-92   04-21-92   04-23-92   05-15-92
                                                      05-21-92   05-22-92   05-29-92   06-01-92   06-03-92   06-05-92
                                                      06-08-92   06-16-92   06-18-92   06-19-92   06-25-92   06-26-92
                                                      07-09-92   07-14-92   07-15-92   07-16-92   07-17-92   08-06-92
                                                      08-11-92   08-12-92   08-14-92   08-19-92   08-20-92   08-21-92
                                                      09-02-92   09-11-92   09-14-92   09-22-92   09-23-92   09-24-92
                                                      09-29-92   10-01-92   10-02-92   10-07-92   10-09-92   10-13-92
                                                      10-14-92   10-16-92   10-19-92   10-20-92   10-21-92   10-26-92
                                                      10-22-92   10-23-92   10-27-92   10-29-92   10-30-92   11-04-92
                                                      11-05-92   11-06-92   11-09-92   11-12-92   11-17-92   11-18-92
                                                      11-19-92   11-23-92   11-24-92   11-25-92   12-02-92   12-03-92
                                                      12-08-92   12-11-92   12-16-92   12-23-92   01-20-93   01-21-92
                                                      01-26-93   01-29-93   02-04-93   02-09-93   02-11-93   02-26-93
                                                      03-29-93   04-02-93   04-05-93   04-21-93   04-23-03   05-04-93
                                                      05-11-93   05-14-93   05-28-93   06-02-93   08-03-93   08-11-93
                                                      08-25-93   09-02-93   09-10-93   09-17-93   09-22-93   09-23-93
                                                      09-24-93   10-01-93   10-13-93   10-18-93   10-20-93   10-21-93
                                                      10-29-93   11-03-93   11-15-93   02-03-93   12-10-93   12-14-93
                                                      12-16-93

                                                      We have completed our review of this application and it is
                                                      APPROVABLE….
                          Case 3:05-cv-00444 Document 172-2 Filed 04/27/10 Page 11 of 25 PageID #: 3932
N13743-062-r05.ppt   Page 11                                4/27/2010                                                   11
        Prior to Approval, FDA Carefully Reviewed
              Every Word of Neurontin Label
                     October 6, 1993
                                                          They have not yet sent the
                                                          approvable package to Dr. Temple.
                                                          There is nothing which FDA needs
                                                          from us prior to sending the letter.
                                                          The delay appears to be fine-tuning
                                                          the labeling. They are reviewing
                                                          every word, and since it has been
                                                          so long since the Advisory
                                                          Committee Meeting, sometimes
                                                          they need to go back and refresh
                                                          their memory as to what occurred.
                                                                         Source: October 6, 1993 Record of FDA Contact, WLC_JTurner_000717



                           Case 3:05-cv-00444 Document 172-2 Filed 04/27/10 Page 12 of 25 PageID #: 3933
N13743-062-r05.ppt    Page 12                                4/27/2010                                                                       12
    FDA-Approved Label Told Physicians of Reported
        Suicidality Events, Regardless of Cause
                                                                          December 30, 1993

                                                         [I]ntracranial hemorrhage, hypotonia,
                                                         dysesthesia, paresis, dystonia, hemiplegia,
                                                         facial paralysis, stupor, cerebellar dysfunction,
                                                         positive Babinski sign, decreased position
                                                         sense, subdural hematoma, apathy,
                                                         hallucination, decrease or loss of libido,
                                                         agitation, paranoia, depersonalization,
                                                         euphoria, feeling high, doped-up sensation,
                                                         suicidal, psychosis; Rare: choreoathetosis,
                                                         orofacial dyskinesia, encephalopathy, nerve
                                                         palsy, personality disorder, increased libido,
                                                         subdued temperament, apraxia, fine motor
                                                         control disorder, meningismus, local
                                                         myoclonus, hyperesthesia, hypokinesia, mania,
                                                         neurosis, hysteria, antisocial reaction, suicide
                                                         gesture.
                          Case 3:05-cv-00444 Document 172-2 Filed 04/27/10 Page 13 of 25 PageID #: 3934
N13743-062-r05.ppt   Page 13                                4/27/2010                                        13
 FDA-Approved Epilepsy Label Told Physicians About
   Reported Depression on Neurontin and Placebo
                                          Table 1. Treatment-Emergent Adverse Event Incidence in
                                                   Controlled Add-On Trials (Events in at least 1% of
                                                   Neurontin patients and numerically more
                                                   frequent than in the placebo group)




                                                                         Neurontin                   Placebo
                                                                          N=543                       N=378
                                             Depression                     1.8%                      1.1%




                          Case 3:05-cv-00444 Document 172-2 Filed 04/27/10 Page 14 of 25 PageID #: 3935
N13743-062-r05.ppt   Page 14                                4/27/2010                                          14
   FDA Found a Numerically Higher Rate of Depression in Patients
Given a Placebo Than Patients Treated With Neurontin in Pain Studies




                                               FDA Clinical Review: Treatment Emergent Adverse Events,
                                                        Neuropathy and Epilepsy Add-on Studies


                                                                  All         Neuropathy             Epilepsy              Epilepsy
                                                              Neuropathy       Placebo                 GPN                 Placebo
                                                                 GPN            N=537                 N=543                 N=378
                                                                N=820
                                               Depression         1.3%            2.2%                  1.8%                 1.1%



                                                                    Not Statistically                      Not Statistically
                                                                      Significant                            Significant
                                                                              Source: May 24, 2002 FDA Clinical Review, Pg. 77, Table 7.20


                          Case 3:05-cv-00444 Document 172-2 Filed 04/27/10 Page 15 of 25 PageID #: 3936
N13743-062-r05.ppt   Page 15                                4/27/2010                                                                        15
          FDA’s 2005 ‘Minor’ Change to Suicide-Related
          Adverse Event Terms in Neurontin’s Labeling
                                                          November 22, 2005 E-Mail From FDA to Pfizer




                                                         Please proceed with the minor
                                                         labeling changes pertaining to
                                                         suicide-related events.
                                                                                           Source: November 22, 2005 e-mail from
                                                                                  Courtney Calder to Manini Patel (emphasis added)




                          Case 3:05-cv-00444 Document 172-2 Filed 04/27/10 Page 16 of 25 PageID #: 3937
N13743-062-r05.ppt   Page 16                                4/27/2010                                                                16
       FDA: Controlled Trials Are Only Way to Assess Whether
       Neurontin Is Associated With Increased Risk of Suicide
                                                      April 12, 2005 Letter From FDA to Plaintiff’s Lawyers


                                                         We noted at that time that these
                                                         illnesses are well-known to be
                                                         associated with an increased risk of
                                                         suicide compared to the general
                                                         population. Further, in the absence
                                                         of an appropriate control group, it
                                                         will be difficult, if not impossible,
                                                         to assess the role of any other
                                                         factors that might explain these
                                                         events, such as concomitant
                                                         medications.
                                                                                           Source: April 12, 2005 Letter from FDA
                                                                                       to Andrew G. Finkelstein (emphasis added)

                          Case 3:05-cv-00444 Document 172-2 Filed 04/27/10 Page 17 of 25 PageID #: 3938
N13743-062-r05.ppt   Page 17                                4/27/2010                                                               17
       FDA: Controlled Clinical Trials Are the Only Way to
      Establish Whether AEDs Are Responsible for Suicide
                                                                        April 1, 2008 Letter From FDA

                                                         Concerning your question why data from
                                                         the FDA Adverse Event Reporting System
                                                         (AERS) has not been analyzed or made
                                                         public, the agency does not believe that
                                                         spontaneous post-marketing reports can
                                                         be interpreted appropriately in this
                                                         situation. Patients taking these drugs have
                                                         a high background rate of suicidal
                                                         thoughts/behaviors, and it is not possible
                                                         to tell from AERS reports, whether the
                                                         drug caused them. In the agency’s view,
                                                         the only way to establish whether or not
                                                         the drugs are responsible for suicidality is
                                                         to analyze controlled trial data.
                                                                                          Source: April 1, 2008 Letter from FDA
                                                                                          to Dr. Alex Ruggieri (emphasis added)
                          Case 3:05-cv-00444 Document 172-2 Filed 04/27/10 Page 18 of 25 PageID #: 3939
N13743-062-r05.ppt   Page 18                                4/27/2010                                                             18
      FDA: Use Placebo-Controlled Trials Because
       Post-Marketing Data Are Uninterpretable

                                                         Dr. Katz: “…we have long ago
                                                         decided that post[-]marketing data
                                                         are not the right data to look at,
                                                         or we don’t believe that for these
                                                         sorts of things where there is a high
                                                         background rate of suicidality so
                                                         defined in these populations,
                                                         I think we have concluded that
                                                         post[-]marketing is uninterpretable,
                                                         and that is why we went to
                                                         placebo-controlled trials.”
                                                                                      Source: July 10, 2008 FDA Advisory Committee
                                                                                                         Meeting Transcript, Pg. 103



                          Case 3:05-cv-00444 Document 172-2 Filed 04/27/10 Page 19 of 25 PageID #: 3940
N13743-062-r05.ppt   Page 19                                4/27/2010                                                                  19
                 Controlled Trials:
    No Increased Risk of Suicide With Neurontin
              June 22, 2006                                                                     Neurontin:          Placebo Control:
                                                                     Category
                                                                                              5,194 patients         2,682 patients


                                                           Completed suicide                         0                       0



                                                           Suicide attempt                           0                       0


                                                           Preparatory acts towards
                                                           imminent suicidal                         0                       0
                                                           behavior

                                                                                                2 (0.039)               1 (0.037)
                                                           Suicidal ideation                 [2 out of 5,194         [1 out of 2,682
                                                                                                patients]               patients]


                                                                       Total                      0.039%                 0.037%


                                                                         Source:
                          Case 3:05-cv-00444 Document 172-2 Filed 04/27/10  Page M.A.20
                                                                                      Evertsz,
                                                                                        of 25R.Ph, 6/22/06,
                                                                                               PageID    #: Pfizer
                                                                                                            3941Response, p. 4, Ex. 7207
N13743-062-r05.ppt   Page 20                                       4/27/2010                                                               20
          Evaluations of Depression and Suicidality
       1992                        1993                      2001                                 2004
       Epilepsy ISS                FDA –                     Pfizer Core                          Pfizer Parsons
                                   McCormick                 Label Review                         Review
       NO SIGNAL
                                   Review
                                                             NO SIGNAL                            NO SIGNAL
                                   NO SIGNAL

                                                                        December 2001
               May 29, 1992
                                                                        PHN ISS                              June 22, 2006
               First Safety
               Update                                                   NO SIGNAL                            Neurontin
                                                                                                             placebo-
               NO SIGNAL                   2000
                                                                                                             controlled
                                           Pfizer Adverse                         2002                       clinical trial
                                           Event Report                                                      data
                                           Analysis                               FDA analysis
                                                                                  of PHN NDA                 NO SIGNAL
                                           NO SIGNAL
                                                                                  NO SIGNAL




            1992               1993            2000          2001             2002               2004
                          Case 3:05-cv-00444 Document 172-2 Filed 04/27/10 Page 21 of 25 PageID #: 3942
                                                                                                                   2006
N13743-062-r05.ppt   Page 21                                4/27/2010                                                         21
                  FDA Meta-Analysis –
       Entire Data Necessary to Draw Conclusions

               DR. TWYMAN: I have a question for the
       statisticians. Let’s assume that the effect is generalizable
       to the class of AEDs. But, if you look at the compounds
       individually, could one draw the conclusion individually
       that compounds have a risk, or do you need the entire
       data set of all the AEDs put together in order to draw the
       conclusion that AEDs have a signal?
              DR. LEVENSON: I would say that we need the
       entire data set in this case.
                                                               Source: July 10, 2008 FDA Advisory Committee Meeting Transcript, Pp. 183-184




                          Case 3:05-cv-00444 Document 172-2 Filed 04/27/10 Page 22 of 25 PageID #: 3943
N13743-062-r05.ppt   Page 22                                4/27/2010                                                                         22
      December 16, 2008 – FDA to Physicians: FDA Has
       Not Concluded AEDs Cause Suicidal Behaviors

                                                        Posting this information does not
                                                        mean that FDA has concluded there is
                                                        a causal relationship between the
                                                        drug products and the emerging
                                                        safety issue. Nor does it mean that
                                                        FDA is advising health care
                                                        professionals to discontinue
                                                        prescribing these products. FDA
                                                        intends to update this document
                                                        when additional information or
                                                        analyses become available.
                                                            Source: “Information for Healthcare Professionals: Suicidal Behavior and
                                                                     Ideation and Antiepileptic Drugs,” December 16, 2008, Ex. 7558


                          Case 3:05-cv-00444 Document 172-2 Filed 04/27/10 Page 23 of 25 PageID #: 3944
N13743-062-r05.ppt   Page 23                                4/27/2010                                                                  23
             Blume’s ‘Red Flags’ Have No Credibility

                     Blume “Red Flag”                 FDA Evaluated?                     FDA Found
                                                                                    Signal for Suicidality?

                       Dechallenge/
                       Rechallenge                            YES                              NO

                        Spontaneous
                        Reports/PRR                           YES                              NO

                          Biologic
                         Plausibility                         YES                              NO

                         1992 FDA
                      Clinical Review                         YES                              NO

                         Clinical Trial
                         Withdrawal                           YES                              NO


                          FDA Alert                           YES                      Yes (Class Label)
                          Case 3:05-cv-00444 Document 172-2 Filed 04/27/10 Page 24 of 25 PageID #: 3945
N13743-062-r05.ppt   Page 24                                4/27/2010                                         24
                               Opinions of Dr. Arrowsmith

              The Neurontin labeling was adequate under the
              regulations and provided appropriate information
              for safe and effective use

              The package insert, and the Investigator’s Brochure
              prior to approval, included information concerning
              suicidal behavior and adverse effects on mood
              reported during clinical testing

              There was no reason for Pfizer to warn of suicidal
              behavior in the Neurontin labeling prior to the
              requirement of class labeling
                          Case 3:05-cv-00444 Document 172-2 Filed 04/27/10 Page 25 of 25 PageID #: 3946
N13743-062-r05.ppt   Page 25                                4/27/2010                                     25
